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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                                                                                       September 09, 2022
                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk

                                  HOUSTON DIVISION

 DWIGHT RUSSELL, et al.,                          §
                                                  §
                        Plaintiffs,               §
                                                  §
 v.                                               §           CIVIL ACTION NO. H-19-226
                                                  §
 HARRIS COUNTY, TEXAS, et al.,                    §
                                                  §
                        Defendants.               §

                                              ORDER

       Pending before the court is the Harris County District Attorney’s Office’s opposed motion to

quash a subpoena issued by Plaintiffs in April 2022. (Docket Entry No. 589). The court will hear

oral argument on this motion on October 4, 2022, at 1:30 p.m., by Zoom. Given the pendency of

this motion, the deadline to complete discovery and the deadlines for pretrial dispositive motions and

responsive briefing will be extended slightly. The new deadlines will depend on the resolution of

the motion to quash and will be announced shortly thereafter. The dispositive motions hearing will

remain scheduled for December 2, 2022. (Docket Entry No. 577).



               SIGNED on September 9, 2022, at Houston, Texas.




                                                             Lee H. Rosenthal
                                                      Chief United States District Judge
